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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

UNITED STATES OF AMERICA ex rel.
LAURIE SIMPSON, Honorable John M. Vazquez
United States District Court Judge

Plaintiff,
Honorable Joseph A. Dickson
V. United States Magistrate Judge
BAYER CORPORATION, et al., Honorable Dennis M. Cavanaugh
Special Master
Defendants.

Civ. No. 05-3895 (JIMV)(JAD)

 

ST PTPULATED AMENDED SCHEDULING ORDER
THIS MATTER having come before the Court through joint stipulation of

Plaintiff-Relator Laurie Simpson (“Plaintiff-Relator’) and Defendants Bayer Corp.,
Bayer Healthcare Pharmaceuticals, Inc., and Bayer Healthcare LLC (collectively,
“Bayer’”), requesting that the Joint Stipulation To Amend Case Schedule, entered by

the Court on September 13, 2019 [ECF No. 362], be amended, and for good cause

 

 

 

 

shown:
Event Current Deadline Proposed New Deadline
Document Production November 7, 2019 December 23, 2019
Completed
Privilege Logs Due December 5, 2019 January 20, 2019
Fact Discovery April 9, 2020 May 25, 2020
Completed

 

 

 

 

 

 
 

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Expert Discovery
Completed

August 25, 2020

October 5, 2020

 

Dispositive Motions Due

September 18, 2020

November 2, 2020

 

Final Pre-Trial
Conference

 

December 18, 2020

 

February 1, 2021

 

Oo
IT IS onthis_  / cj day of November, 2019, ORDERED THAT

the Case Schedule shall be amended as follows:

ACTIVE 250937939

 

Special Master

 

 
